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The Honorable Thomas S$. Zilly
Noted For: July 26, 2019
Without Oral Argument

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
ESTATE OF WANGSHENG LENG, by
and through administrator, LIPING YANG, No. 2:19-cv-00490-TSZ
Plaintiffs, DECLARATION OF

IRVING S. SCHER, PH.D., PE.
v.

THE CITY OF ISSAQUAH, ISSAQUAH
POLICE OFFICER M. LUCHT #1201, and
ISSAQUAH POLICE OFFICER KYLEN
WHITTOM, #1210,

Defendants.

 

 

I, IRVING S SCHER, PH.D., P.E. declare as follows:

1, I am over the age of 18, and am otherwise competent to testify as to all matters
herein, and make the following statements based on my own personal knowledge.

2. I am a biomechanical engineer. Attached as Exhibit A to this Declaration is a
true and correct copy of my C.V.

3. I have reviewed the King County Medical Examiner’s Office report regarding
the autopsy of Wangsheng Leng. It is apparent from my preliminary review of that document
that Mr. Leng had complicated pre-existing physical and mental conditions; Mr. Leng may
have been unusually susceptible to his injuries given his pre-existing conditions and they may

have contributed to his injuries.

4. I was recently retained by Defendants and have not yet had an opportunity to
DECLARATION OF KEATING, BUCKLIN & MCCORMACK, INC., P.S.
IRVING S. SCHER, PH.D., P.E. - 1 ATTORNEYS AT LAW
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1002-01464/Dedl of Irv Scher ~ Motion to Quash.docx PHONE: (206) 623-8861
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render opinions in this matter. In order to conduct fully my biomechanical engineering
analysis and provide opinions, it is essential that I have access to Mr. Leng’s historical
medical records and imaging. I need to review those records to be able to determine the extent
of Mr. Leng’s pre-existing conditions to render opinions on causation and mechanism of
injury. Limiting my access to Mr. Leng’s historical records would reduce my ability to reach
opinions on those topics. That is especially true in light of what I have seen so far regarding
Mr. Leng’s complex medical condition at the time of his interaction with the Issaquah police.

5. It is highly problematic for a lay person to determine what is and is not
relevant to my analysis. What might appear to a lay person to be completely unrelated or
unimportant to my field of expertise might be essential to understanding the biomechanics of
how Mr. Leng’s injuries occurred. Given Mr. Leng’s age, I need to be able to review records
dating back further than three years. Ideally, I would be provided with Mr. Leng’s complete
medical records, regardless of time. I will abide by the Court’s Stipulated Protective Order
and not disseminate those records beyond this litigation.

I declare under penalty of perjury under the laws of the State of Washington that the

foregoing is true and correct to the best of my knowledge.

DATED this 224 day of July, 2019, at Seattle, Washington.

Lum, Uber

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DECLARATION OF KEATING, BUCKLIN & MCCORMACK, INC,, P.S.
IRVING S. SCHER, PH.D., P.E. - 2 ATTORNEYS AT LAW
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CERTIFICATE OF SERVICE
I hereby certify that on July 22, 2019, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to

the following:

Attorneys for Plaintiffs

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Email: harry@harrywilliamslaw.com

and I hereby certify that I have mailed by United States Postal Service the document to the
following non CM/ECF participants:
N/A

DATED: July 22, 2019

   
 
 

 

Christine Jensen Littler, Legal Assistant
Email: clinder@kbmlawyers.com

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